Case 3:24-cr-00250-S   Document 33-1   Filed 01/27/25   Page 1 of 57   PageID 212




                          Exhibit A
Case 3:24-cr-00250-S        Document 33-1         Filed 01/27/25           Page 2 of 57             PageID 213




                                                        U.S. Department of Justice
                                                        Criminal Division | Fraud Section

                                                        1100 Commerce Street, Third Floor, Dallas, Texas 75242-1699
                                                        Main: 214-659-8600 | Fax: 214-659-8802




November 1, 2024

VIA ELECTRONIC MAIL

Scottie Allen
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Scottie D Allen & Associates
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RE: United States v. Keith Gray, 3:24-cr-00250-S

Dear Counsel:

       The United States of America provides this notice and a written summary of the
expected testimony of the witnesses described below, whom the Government currently
intends to call at trial during its case-in-chief (“Notice”), in compliance with its obligations
under Federal Rule of Criminal Procedure 16(a)(1)(G) and Federal Rules of Evidence
(“FRE”) 702, 703, and 705. The Government may choose not to attempt to elicit the
testimony outlined in this Notice but provides this information out of abundance of caution
and in order to comply with the applicable rules.

       Each of the witnesses described below may also testify as a fact witness in this case
regarding matters of which they have personal knowledge under FRE 602 and about which
they may opine under FRE 701.

       The Government provides notice of the testimony of Dr. Rajat Deo, who will
provide expert testimony at trial under FRE 702. Out of an abundance of caution, the
Government also provides notice of the testimony of Shauna Hull and Marylee Robinson,
even though the Government believes that Ms. Hull and Ms. Robinson’s anticipated
testimony described herein is factual such that it should be received as lay opinion pursuant
to FRE 701.




Government’s Notice Regarding Anticipated Witness Testimony | 1
Case 3:24-cr-00250-S        Document 33-1         Filed 01/27/25   Page 3 of 57   PageID 214

       Each of these witnesses may testify pursuant to a trial subpoena, and where the
Government has executed an expert agreement or provided remuneration for their time in
consulting and testifying, it is so indicated. Each witness may also receive coverage of
regular expenses, which the Government or the witness’s employing agency may pay or
reimburse for all witnesses, expert or non-expert.

        The Government acknowledges its continuing duty to disclose evidence or material
obtained before or during trial pursuant to Federal Rule of Criminal Procedure 16(c).
Should unexpected events arise between now and trial which might require additional or
different expert testimony, the Government will promptly seek the Court’s permission to
offer the testimony of additional or alternative expert witnesses.

       A. Dr. Rajat Deo

        The government intends to call Dr. Rajat Deo to testify regarding cardiovascular
disease, the nature of genetic testing for cardiovascular diseases, and the medically
appropriate and medically inappropriate uses of these tests. The government also intends
to elicit opinion testimony regarding the same as applied to the above-captioned case. Dr.
Deo’s qualifications, training, publications, and experience are summarized in his
curriculum vitae, which is incorporated by reference. The government will compensate
Dr. Deo for his work in this case at the rate of $500 per hour for case analysis and trial
preparation and $5,000 per day for out-of-state testimony or trial preparation meetings. As
of the date of this correspondence, Dr. Deo has received approximately $50,382.84 from
the Fraud Section, Criminal Division, U.S. Department of Justice, for his expert witness
services in other cases.

        Dr. Deo may create expert reports, which will be provided to you. The Government
may supplement any of Dr. Deo’s reports as necessary as trial approaches, including by
asking Dr. Deo to opine on additional requisition orders or patient files for beneficiaries
that the Defendant’s labs billed for.

       Dr. Deo holds an S.B. from MIT, an M.D from the University of Michigan Medical
School, and a Masters of Science in Translational Research from the University of
Pennsylvania School of Medicine. Currently, Dr. Deo serves as the Director of the Penn
Arrhythmia Genetics Program at the University of Pennsylvania, where he has also served
as a Cardiologist for the Department of Athletics since 2013. Dr. Deo is board certified in
Internal Medicine, Cardiovascular Disease, and Clinical Cardiac Electrophysiology. He is
licensed in California, Maryland, and Pennsylvania. Dr. Deo is a member of multiple
professional and scientific societies, and has held editorial positions for numerous medical
journals, including serving as a reviewer for the American Journal of Cardiology since
2006. Dr. Deo has held multiple academic appointments and lectured on cardiology issues
multiple times. Dr. Deo has authored dozens of publications on cardiology, including
publications pertaining to cardio genetic testing. A copy of Dr. Deo’s curriculum vitae
(“CV”) is included as Attachment A.


Government’s Notice Regarding Anticipated Witness Testimony | 2
Case 3:24-cr-00250-S        Document 33-1         Filed 01/27/25   Page 4 of 57   PageID 215



        In the last four years, Dr. Deo has testified as an expert witness in three trials. He
testified for the United States in United States v. Carver et al., 22-80022-CR-
CANNON/REINHART (S.D. Fl. 2023), a criminal case, and for the plaintiff in Joellen
McHugh v. Gloria Chen, No. 2019-L-008034 (Circuit Court of Cook County, First
Municipal District, Ill. 2019), a medical malpractice case. He also has been deposed in
Proton-Pump Inhibitor Products Liability Litigation, No. 2:17-MD-2789 (D.N.J. 2017), a
multi-district products liability case, as a witness for the defendant AstraZeneca.

       As a result of his extensive experience, Dr. Deo has become familiar with cardio
genetic testing, including the purposes, clinical uses, and medically appropriate and
inappropriate uses of these tests.

   The Government anticipates that Dr. Deo’s testimony may cover the following topics
and include the following opinions:

   1. Background on Cardiac Disease and Cardio Genetic Testing

       • Dr. Deo will explain what cardiac diseases are and what cardio genetic testing
         is. Namely, cardio genetic testing looks for genes or genetic mutations associated
         with certain inherited cardiac diseases.

       • As a general matter, it is not appropriate to use these tests as a routine screening
         tool in the general population. Instead, the tests should be used for a medical
         decision-making purpose. Thus, it is essential that the tests be ordered by a
         medical professional who is knowledgeable about the proper uses of cardio
         genetic tests, who actually is treating the patient and uses the results in the
         patient’s treatment, and who can appropriately counsel the patient about the
         benefits and risks of these tests.

   2. Medically Appropriate & Inappropriate Uses of Cardio Genetic Tests

       • In a patient where an inherited cardiac syndrome is suspected, a cardio genetic
         test may be indicated as a tool to assist treating physicians, gather information,
         discuss treatment options and assist patients with making informed decisions
         about their care. Cardio genetic testing should only be ordered to compliment a
         complete care program managed by one or more physicians or appropriately
         trained health care providers with the expertise to treat the patient. Managed by
         a physician treating these patients, the information obtained from cardio genetic
         testing can play a meaningful role in providing quality care. It can also assist
         family members in determining whether they are likely to have a gene or
         mutation associated with an inherited cardiac disease, and therefore assist in
         early treatment or risk management.



Government’s Notice Regarding Anticipated Witness Testimony | 3
Case 3:24-cr-00250-S        Document 33-1         Filed 01/27/25   Page 5 of 57    PageID 216


       • A primary care physician or other non-specialist physician should not normally
         order cardio genetic testing; instead, such testing is typically ordered after
         referral to a specialist.

       • Cardio genetic testing typically should not be the first step in managing a
         patient’s cardiac-related illness, particularly for a patient with no diagnosed first-
         degree familial cardiac genetic mutation. Cardio genetic testing should be used
         on a highly selective patient population. Patients whose sole diagnosis is
         essential hypertension or chronic ischemic heart disease generally should not
         receive cardio genetic testing as a matter of routine treatment.

       • Dr. Deo will answer hypothetical questions, including hypothetical questions
         drawn from the facts of this case, to further explain what would be, in his
         opinion, medically appropriate and inappropriate uses of these tests.

       • Dr. Deo will contrast cardio genetic testing with other forms of tests which are
         diagnostic in nature and designed to identify the existence of cardiac disease, for
         example, electrocardiograms, echocardiograms, stress tests, cardiac
         catheterization, CT scans, and cardiac MRIs. Common cardiac diseases such as
         essential hypertension or chronic ischemic heart disease generally should be
         evaluated through routine imaging or other traditional diagnostic tools in the first
         instance.

       • Cardio genetic testing results are frequently complex and inconclusive in nature
         such that they require the skills of a properly trained physician or other properly
         trained and certified health care providers to accurately interpret them in a
         manner that is useful to the patient. Absent involvement by a competent treating
         physician, there is unreasonable risk that patients could misinterpret cardio
         genetic testing results which could lead them to make premature and
         unwarranted medical decisions, or conversely to take an apathetic approach to
         their health based upon a false sense of security. Information revealed by cardio
         testing can also exact psychological tolls on patients absent proper management,
         including pre- and post-testing genetic counseling, by a trained professional.

       • Dr. Deo will explain that cardio testing results can also be misleading. For
         example, a negative result does not mean that a particular patient will not
         develop cardiac disease, nor does it mean that the patient has a reduced overall
         risk for the future development of cardiac disease during the course of his or her
         lifetime. Absent comprehensive genetic counseling, a patient could misinterpret
         a negative test result to their future detriment.

       • Dr. Deo will testify that the potential benefits of cardio genetic testing outweigh
         risks and that such testing is medically indicated in a limited number of high-


Government’s Notice Regarding Anticipated Witness Testimony | 4
Case 3:24-cr-00250-S        Document 33-1         Filed 01/27/25   Page 6 of 57   PageID 217

           risk patients such as those with a first-degree family member who has a known
           diagnosis of an inherited cardiac disease. Patients having relatives with a vague
           history of cardiac disease do not qualify as suggestive inherited cardiac
           syndrome; indeed, some form of cardiac disease is quite common in the general
           population but does not by itself necessarily warrant cardio genetic testing. In
           addition, patients with certain unique clinical presentations, such as a very young
           patient experiencing cardiac arrest, are referred to sub-specialty care and may
           also warrant cardio genetic testing.

       • Dr. Deo will testify that, when a treating physician decides that it is in his or her
         patient’s best interest to receive cardio genetic testing and subsequently orders
         it, the testing should be accompanied by comprehensive pre- and post-testing
         genetic counseling provided by a genetic counselor, physician, or health care
         provider with appropriate training and experience in the area of genetics. Genetic
         counseling is a service provided by a properly credentialed medical provider
         who helps to explain the purpose of a genetic test, how the test will be done,
         what the results will look like, what different results might mean, and what the
         implications of those results might be in terms of how they might affect
         treatment. Genetic counseling is also useful to explain to patients what impacts
         if any, cardio genetic testing results might have on other immediate family
         members, especially children.

       • Dr. Deo will testify that, as a treating physician, he is familiar with the
         importance of thoroughly documenting patients’ medical charts. Dr. Deo will
         testify that the purpose of a medical chart is to document the patient encounter,
         record the information reviewed and document a future plan of care for the
         patient. Proper charting is vital to continued care of patients because health care
         providers see patients in episodes over a short period of time. When it comes to
         cardio genetic testing, patients’ medical charting should thoroughly document
         the bases for ordering cardio genetic testing, which cardio genetic test was
         deployed, as well as contain information about how the decision to conduct
         genetic testing fits into the referring physician’s treatment plan for the patient.

   3. Specific Opinions about Cardio Genetic Testing in this Case

       • Dr. Deo may also review documents produced to the defense and offer opinions
         on those documents based on his extensive relevant training and experience as
         described in his CV (see Attachment A).

       • For example, Dr. Deo may offer opinions on the testing purportedly conducted
         on specific patients in this case, including opinions regarding whether testing of
         specific patients was medically appropriate, based on his experience and the
         principles discussed herein.



Government’s Notice Regarding Anticipated Witness Testimony | 5
Case 3:24-cr-00250-S        Document 33-1         Filed 01/27/25   Page 7 of 57   PageID 218


       • Dr. Deo may also create or refer to summary exhibits.

       The United States has provided Dr. Deo with requisition orders and associated
documents for Medicare beneficiaries (including patient files received from PCPs),
including documents identified by production Bates labels, 1 and other documents and
records obtained through the investigation, all of which have been produced to you. Dr.
Deo may review other documents produced to the Defendant and offer opinions on those
documents based on his extensive relevant training and experience as described in his CV
and this Notice.

       B. Shauna Hull

       The United States intends to call Shauna Hull, or another witness, to explain how
Medicare works, Medicare’s coverage for laboratory testing (including the cardio genetic
testing conducted in this case), Medicare’s coverage for telemedicine, the fact that
Medicare does not cover claims based on kickbacks or bribes, the representations that
providers, including owners of laboratories, must make to enroll with Medicare, and the
claims submitted by the Defendant’s laboratories to Medicare. Ms. Hull is not being
specifically compensated for her testimony in this case; instead, trial testimony is part of
her ordinary duties as set forth below.

       Ms. Hull has worked for several Medicare contractors primarily in fraud
investigations. She is currently employed by Qlarant Quality Solutions (“Qlarant”) and
supports the Southwest Unified Program Integrity Contractor (“UPIC”). In her current role,
Ms. Hull is responsible for support and education for federal law enforcement agencies,
training and development of staff, outreach activities relating to fraud and abuse, and
coordinating and sharing information with the Centers for Medicare and Medicaid Services

1
  Materials include Bates ranges: FLGT_AXIS_0003352, FLGT_AXIS_0007661 – FLGT_AXIS_0007663,
FLGT_AXIS_0003652,        FLGT_AXIS_0021665     –    FLGT_AXIS_0021667,    FLGT_AXIS_0003114,
FLGT_AXIS_0022450       –   FLGT_AXIS_0022452,    FLGT_AXIS_0000676    –   FLGT_AXIS_0000678,
FLGT_AXIS_0005684 – FLGT_AXIS_00005685, FLGT_AXIS_0001890 – FLGT_AXIS_0001892,
FLGT_AXIS_0005981       –   FLGT_AXIS_0005982,    FLGT_AXIS_0005639    –   FLGT_AXIS_0005641,
FLGT_AXIS_0007917       –   FLGT_AXIS_0007919,    FLGT_AXIS_0009324    –   FLGT_AXIS_0009327,
FLGT_AXIS_0010535       –   FLGT_AXIS_0010536,    FLGT_AXIS_0005747    –   FLGT_AXIS_0005748,
FLGT_AXIS_00014877 – FLGT_AXIS_0014879, FLGT_AXIS_0006642 – FLGT_AXIS_0006643,
FLGT_AXIS_0015740       –   FLGT_AXIS_0015742,    FLGT_AXIS_0003073,    FLGT_AXIS_0015743  –
FLGT_AXIS_0015745,       FLGT_AXIS_018533    –    FLGT_AXIS_0018535,    FLGT_AXIS_0022559   –
FLGT_AXIS_0022561,       FLGT_AXIS_0000026    –   FLGT_AXIS_0000028,    FLGT_AXIS_0019682  –
FLGT_AXIS_0019684,       FLGT_AXIS_0000868    –   FLGT_AXIS_0000870,    FLGT_AXIS_0018789  –
FLGT_AXIS_0018791,       FLGT_AXIS_0009094    –   FLGT_AXIS_0009096,    FLGT_AXIS_0018233  –
FLGT_AXIS_0018235,       FLGT_AXIS_0015487    –   FLGT_AXIS_0015489,    FLGT_AXIS_0018017  –
FLGT_AXIS_0018019, DOJGRAYS_00032659 – DOJGRAYS_00032672, DOJGRAYS_00032682 –
DOJGRAYS_00032719, DOJGRAYS_00032725 – DOJGRAYS_00032766, DOJGRAYS_00032775 –
DOJGRAYS_00032802, DOJGRAYS_00053845 – DOJGRAYS_00053865, FLGT_AXIS_0004693 –
FLGT_AXIS_0004694,       FLGT_AXIS_005074    –    FLGT_AXIS_0005075,    FLGT_AXIS_0006157   –
FLGT_AXIS_0006160,       FLGT_AXIS_0006662    –   FLGT_AXIS_0006665,    FLGT_AXIS_0012342  –
FLGT_AXIS_0012345.


Government’s Notice Regarding Anticipated Witness Testimony | 6
Case 3:24-cr-00250-S        Document 33-1         Filed 01/27/25   Page 8 of 57   PageID 219

(“CMS”), other contractors, and law enforcement agencies. Ms. Hull has a decade of
experience working with Medicare contractors. In addition, she has experience analyzing
claims for payment to Medicare. In the course of her years in this industry, Ms. Hull has
become familiar with Medicare’s coverage for laboratory services and has overseen fraud
investigations for Medicare contractors. She is also familiar with analyzing voluminous
claims data. She has testified about Medicare and Medicare coverage in approximately nine
federal criminal trials throughout Louisiana and Texas. Her CV is attached hereto as
Attachment B.

       In the last four years, Ms. Hull has testified in the following cases:
           • November 2020, Beaumont, TX, No. 1:20-CR-33
           • March 2022, Houston, TX, No. 4:17-cr-00197
           • April 2022, Sherman, TX, No. 4:20-cr-358 ALM
           • April 2022, Houston, TX, No. 4:19-cr-00633
           • October 2022, Houston, TX, No. 4:20-cr-00619
           • March 2023, Lafayette, LA, No. 6:21-cr-00312
           • October 2023, New Orleans, LA, No. 2:21-cr-00098
           • February 2024, Dallas, TX, No. 3:22-cr-00259-S
           • February 2024, McAllen, TX, No. 7:22-cr-01311

       Ms. Hull’s opinions will be based on her knowledge, training, skill, and experience
working with the Medicare program, including its rules and regulations, as well as her
review and analysis of documents and claims data, which have been provided as discovery
to the Defendant in this case.

       The Government anticipates that Ms. Hull’s testimony may cover the following
topics and include the following opinions:

   1. Background on Medicare

       • Ms. Hull will testify that Medicare is a federally funded program that provides
         below-cost health care benefits to people age 65 years or older, the blind, and
         the disabled. The Centers for Medicare & Medicaid Services (“CMS”), a unit of
         the Department of Health and Human Services (“HHS”) is responsible for the
         administration of Medicare. Ms. Hull will explain that individuals who receive
         benefits under Medicare are referred to as Medicare “beneficiaries.”
         Beneficiaries are eligible to receive a variety of services, including hospital and
         physician services (“Part B”). Part B covers outpatient physician services, such
         as office visits, minor surgical procedures, and laboratory services, when certain
         criteria are met.

       • Ms. Hull will explain what a claim for payment from Medicare is, and what must
         be included to submit a claim for payment from Medicare, including the
         following: (1) the claim must pertain to a patient who was properly enrolled as


Government’s Notice Regarding Anticipated Witness Testimony | 7
Case 3:24-cr-00250-S        Document 33-1         Filed 01/27/25   Page 9 of 57   PageID 220

           a Medicare beneficiary; (2) the healthcare provider who furnished the services
           to the patient must be licensed in the state in which they practice and be properly
           enrolled with Medicare; (3) the services claimed must have been actually
           provided as reported on the claim; (4) the services claimed must be medically
           necessary and eligible for reimbursement under any applicable rules,
           regulations, or policies; and (5) the claim must be properly reported and properly
           documented with a supporting medical record.

       • Ms. Hull will testify to the claims adjudication process, including the time in
         which Medicare processes claims and the extent to which claims are, or are not,
         reviewed by Medicare. She will testify that it is a physical impossibility for every
         claim to be reviewed before it is paid by Medicare. Instead, Medicare relies on
         the provider’s representation that claims are true and accurate.

   2. Medicare Enrollment and Form 855

       • Ms. Hull will explain that “providers” include clinical laboratories, physicians,
         and other health care providers who provide services to beneficiaries. In order
         to bill Medicare, a provider must submit an enrollment application to Medicare.
         The enrollment application contains certification statements that the provider
         must agree to before enrolling with Medicare. Specifically, the certification
         statement sets forth, in part, that the provider agrees to abide by the Medicare
         laws, regulations, and program instructions, including the Federal Anti-
         Kickback Statute, and will not knowingly present or cause to be presented a false
         or fraudulent claim for payment by Medicare.

       • Ms. Hull will explain the representations that providers make regarding their
         ownership and management structure.

       • Ms. Hull will explain that Medicare providers receive a “provider number,”
         which they use to file claims with, or “bill” Medicare to obtain reimbursement
         for services rendered to beneficiaries. When submitting claims to Medicare for
         reimbursement, providers certify that: (1) the contents of the forms are true,
         correct, and complete; (2) the forms are prepared in compliance with the laws
         and regulations governing Medicare; and (3) the services purportedly provided,
         as set forth in the claims, are medically necessary.

       • Ms. Hull will discuss the Form 855s as well as other documentation submitted
         by the various clinical laboratories referenced in the Indictment, including
         representations contained within the forms as to providers’ ownership,
         management, location(s), and promises made in those forms to comply with
         applicable rules and regulations and to not submit false claims.




Government’s Notice Regarding Anticipated Witness Testimony | 8
Case 3:24-cr-00250-S        Document 33-1         Filed 01/27/25   Page 10 of 57   PageID 221

    3. Medicare’s Coverage for Laboratory Testing

        • Ms. Hull will testify that this case implicates claims submitted to Medicare for
          laboratory services, namely, genetic testing, including cardiovascular genetic
          (“cardio”) tests.

        • Ms. Hull will explain Medicare’s reimbursement policies with respect to such
          testing, and he will testify that Medicare reimburses for the test at rates varying
          from approximately a few hundred dollars to several thousand dollars for a panel
          of tests. Ms. Hull will explain that Medicare does not pay for every potential
          medical service, and instead, many services are expressly excluded from
          coverage.

        • Ms. Hull will testify that as a condition of Medicare payment, a physician or
          other Medicare provider must certify that the services performed were medically
          necessary as required by Title 42, United States Code, Section 1395n(a)(2)(B).

        • Ms. Hull will testify that Medicare generally does not pay for “screening” tests,
          unless specifically covered by statute, which the genetic tests billed in this case
          were not. Rather, lab testing must be “reasonable and necessary for the diagnosis
          or treatment of illness or injury or to improve the functioning of a malformed
          body member.” 42 U.S.C. § 1395y(a)(1)(A); see also 42 C.F.R. § 411.15(a)(1);
          42 C.F.R. § 410.10(e).

        • Ms. Hull will explain that laboratory tests must also be ordered by the physician
          who is treating the beneficiary, that is, the physician who furnishes a
          consultation or treats a beneficiary for a specific medical problem and who uses
          the results of the test in the management of the beneficiary’s specific medical
          problem. Ms. Hull will testify that Medicare does not cover genetic tests that are
          not ordered by the beneficiary’s treating physician because CMS has determined
          that tests not ordered by the physician treating the beneficiary are not reasonable
          and necessary. See 42 C.F.R. § 410.32(a).

        • Certain screening tests are exempted from the general exclusion from coverage,
          such as routine mammography or colonoscopy exams (among other routine
          screening exams). Ms. Hull will contrast routine screening tests expressly
          covered under statute from genetic testing billed in this case, which is not
          generally eligible for reimbursement by Medicare on the basis that such testing
          is not reasonable and not necessary.

        • Ms. Hull will discuss and explain that Medicare publishes guidance regarding
          what services it does and does not cover in a variety of publications, including
          National Coverage Determinations (“NCDs”) and Local Coverage
          Determinations (“LCDs”). Ms. Hull will discuss the applicable NCDs and LCDs


 Government’s Notice Regarding Anticipated Witness Testimony | 9
Case 3:24-cr-00250-S        Document 33-1         Filed 01/27/25    Page 11 of 57   PageID 222

            published in the relevant Medicare Administrative Contractor (“MAC”)
            geographic jurisdictions, during the charged conspiracy.

        • Even if a genetic test satisfies the applicable statutory and regulatory
          requirements above, the test must also satisfy applicable LCD coverage
          limitations. Ms. Hull will discuss the LCDs issued by the MACs for the relevant
          Medicare jurisdictions and their respective limitations of coverage of specific
          genetic tests as well as billing trends associated with the publication and
          implementation of certain LCDs and NCDs.

        • Ms. Hull will also explain Medicare’s rules related to providers’ record-keeping
          requirements and requirements related to documenting medical necessity in the
          patient record. Specifically, Ms. Hull will explain that Medicare requires
          ordering/referring physicians to document medical necessity and other coverage
          for genetic testing. Medicare regulations require health care providers enrolled
          with Medicare to maintain complete and accurate patient medical records
          reflecting the medical assessment and diagnoses of their patients, as well as
          records documenting actual treatment of the patients to whom services were
          provided and for whom claims for payment were submitted by the physician.

    4. Information Relied Upon By Ms. Hull

        • To date, Ms. Hull has been provided the following records by the prosecution
          team to assist in her review, which have been provided to the defense in this
          case, in addition to publicly available statutes, regulations, and guidance, some
          of which is referenced herein:
             o Medicare enrollment records for the laboratories referenced in the
                 Indictment in this case;
             o The Indictment in this case; and
             o Part B billing data for the laboratories referenced in the Indictment in this
                 case and related to the Indictment in this case.

        Ms. Hull may answer hypothetical questions drawn from the facts of this case
 regarding how Medicare coverage guidelines are applied in different scenarios. Further,
 Ms. Hull may summarize billing data in this case and testify regarding summaries under
 FRE 1006.

        C. Marylee Robinson

        The anticipated testimony of witness Marylee Robinson, CFA/CFE, Managing
 Director, Stout Risius Ross, Inc., described below, is not expert in nature, pursuant to FRE
 701 and 702, but the government is providing you with notice out of abundance of caution
 and should the defendant wish to address this issue pretrial.



 Government’s Notice Regarding Anticipated Witness Testimony | 10
Case 3:24-cr-00250-S        Document 33-1         Filed 01/27/25    Page 12 of 57   PageID 223

         Ms. Robinson has experience providing fraud and forensic accounting services in
 white collar cases, including the analysis and summarization of government payor
 healthcare claims, as well as the summarization of bank account activity. Her CV is
 attached as Attachment C. Ms. Robinson will testify as a fact witness regarding her review
 and summary of voluminous evidence, including claims data, bank records, and search
 warrant evidence, including reports from American Health Screening and other related
 entities. Ms. Robinson will summarize the voluminous contents of admissible documents,
 all of which has been previously provided to you in discovery. Ms. Robinson may also
 testify to tracing methodologies utilized to identify the fraudulent proceeds alleged in the
 Indictment, including specifically in Counts 7-9.

         Stout is being compensated by the United States for its time in consulting and
 testifying in this case at a rate of $395/hour. In sending this notice regarding Ms.
 Robinson’s anticipated testimony, the government does not contend or concede that it
 qualifies as expert testimony under Federal Rule of Evidence 702, 703, or 705, or that it
 implicates the disclosure requirements of Federal Rule of Criminal Procedure 16(a)(1)(G),
 Federal Rule of Evidence 702, or Daubert v. Merrell Dow Pharms., Inc., 509 U.S. 579
 (1993).

         Even if the anticipated testimony of Ms. Robinson is somehow deemed to be expert
 in nature (which the government does not believe it to be), the defense will not be at any
 disadvantage because the government is providing notice equivalent to that for expert
 testimony. See Federal Rule of Criminal Procedure 16(a)(1)(G) (requiring a written
 summary of any testimony that the government intends to use under FRE 702, 703, or 705,
 if requested by the defense). Further, the United States may choose not to attempt to elicit
 the testimony outlined in this Notice, but provides this information out of an abundance of
 caution in order to comply with the applicable rules.

                                                * * *

        The United States provides further notice that this disclosure may be further
 supplemented to comply with Rule 16 or address issues that arise or new information that
 is provided in preparation for trial, including any additional opinions these witnesses may
 give.

        Pursuant to Rule 16(b)(1)(C), please provide an initial written summary of any
 testimony that Defendant plans to use under Federal Rules of Evidence 702, 703, or 705
 by November 22, 2024.

 [Continued on the next page.]




 Government’s Notice Regarding Anticipated Witness Testimony | 11
Case 3:24-cr-00250-S        Document 33-1         Filed 01/27/25    Page 13 of 57      PageID 224

                                                    Sincerely,

                                                    /s/ Brynn A. Schiess
                                                    BRYNN A. SCHIESS
                                                    Assistant Chief
                                                    GARY WINTERS
                                                    Acting Assistant Chief
                                                    Fraud Section, Criminal Division
                                                    U.S. Department of Justice
                                                    202-374-3484 (Schiess)
                                                    202-491-4181 (Winters)
                                                    Brynn.schiess@usdoj.gov
                                                    Gary.winters@usdoj.gov




 Government’s Notice Regarding Anticipated Witness Testimony | 12
 Case 3:24-cr-00250-S         Document 33-1        Filed 01/27/25      Page 14 of 57   PageID 225

             UNIVERSITY OF PENNSYLVANIA - PERELMAN SCHOOL OF MEDICINE
                                   Curriculum Vitae



                                          Rajat Deo, MD, MTR

Address:                   Hospital of the University of Pennsylvania- Pavilion
                           Cardiac Electrophysiology Program
                           One Convention Avenue
                           Level 2/City Side
                           Philadelphia, PA 19104 USA

Education:
                  1996      S.B.          Massachusetts Institute of Technology (Biology)
                  2001      M.D.          University of Michigan Medical School (Internal Medicine)
                  2011      M.T.R.        University of Pennsylvania, Perelman School of Medicine
                                          (Masters of Science in Translational Research)

Postgraduate Training and Fellowship Appointments:
                  2001-2002            Intern, Internal Medicine, University of Texas Southwestern
                                       Medical Center (Parkland Hospital)
                  2002-2004            Resident, Internal Medicine, University of Texas
                                       Southwestern Medical Center (Parkland Hospital)
                  2004-2006            Fellow, Cardiovascular Disease, University of California, San
                                       Francisco
                  2006-2008            Fellow, Cardiac Electrophysiology, Johns Hopkins Hospital

Faculty Appointments:
                2008-2009                 Instructor, Medicine, University of Pennsylvania School of
                                          Medicine
                  2009-2018               Assistant Professor of Medicine (Cardiovascular Medicine),
                                          University of Pennsylvania School of Medicine
                  2018-present            Associate Professor of Medicine (Cardiovascular Medicine),
                                          University of Pennsylvania School of Medicine

Hospital and/or Administrative Appointments:
                 2020-present          Director, Penn Arrythmia Genetics Program, Penn Medicine

Other Appointments:
                2013-2014                 Team Cardiologist, Philadelphia 76ers, Member of National
                                          Basketball Association
                  2013-present            Cardiologist, Department of Athletics, Penn Medicine

Specialty Certification:
                   2004                   American Board of Internal Medicine (Internal Medicine)
                   2007                   American Board of Internal Medicine (Cardiovascular
                                          Disease)
 Case 3:24-cr-00250-S        Document 33-1       Filed 01/27/25    Page 15 of 57     PageID 226

   Rajat Deo, MD, MTR                                                                    Page 2

                  2010                  American Board of Internal Medicine (Clinical Cardiac
                                        Electrophysiology)

Licensure:
                  2004                  California State Medical Licensure
                  2007                  Maryland State Medical Licensure
                  2008                  Pennsylvania State Medical Licensure

Awards, Honors and Membership in Honorary Societies:
                1995                Burchard Scholar, Humanities Department, MIT
                1995                Howard Hughes Research Fellowship
                1996                MIT Achievement Recognition (cumulative GPA 4.9/5.0)
                2002                Runner-up, Clinical Vignette Presentation, American College
                                    of Physicians
                2004                Nominee, Outstanding Resident Teacher, University of Texas
                                    Southwestern Medical School
                2006                Finalist, Young Investigators Award Competition, American
                                    College of Cardiology Foundation
                2006                NIH Clinical Research Loan Repayment Program Award
                2007                Finalist, Northwestern Cardiovascular YIA Forum
                2007                First place, American Association of Cardiologists of Indian
                                    Origin, YIA Competition
                2008                Clinical Translational Scientist Award/NIH sponsored K12
                2008                NIH Loan Repayment Program Award - Renewal
                2009                Junior Investigator Pilot Grant Program Award, University of
                                    Pennsylvania School of Medicine
                2009                McCabe Research Award for Clinical Research, University of
                                    Pennsylvania School of Medicine
                2009                Kynett-FOCUS Junior Faculty Award for Research in
                                    Women's Cardiovascular Health, University of Pennsylvania
                                    School of Medicine
                2011                Fellow of the American College of Cardiology
                2020                Outstanding Reviewer for Circulation
                2021                Joan and Douglas P. Zipes Publication of the Year Award (by
                                    Heart Rhythm)
                2023                Robert S. Post, MD, Distinguished Visiting Lectureship, Case
                                    Western Reserve University

Memberships in Professional and Scientific Societies:

 International:
2006-Present      Heart Rhythm Society (Member)

2016-Present      Kidney Disease Improving Global Outcome (KDIGO) Arrhythmia Working Group.
                  (Steering Committee Member)
 Case 3:24-cr-00250-S        Document 33-1       Filed 01/27/25      Page 16 of 57     PageID 227

   Rajat Deo, MD, MTR                                                                       Page 3

2018-Present      Lancet Commission on Sudden Cardiac Death (international working group focused
                  on identifying key areas for SCD prevention and cardiac arrest treatment) (Steering
                  Committee Member)

  National:
2004-Present      American College of Cardiology (Fellow 2011-present)

2004-Present      American Heart Association (Member)

2015-Present      American Heart Association (Member)

2016-2020         NHLBI - Sudden Cardiac Death Prevention Working Group (Member)

2017-Present      EMPA-KIDNEY (Steering Committee Member)

2019-Present      American Heart Association Innovative Project Award (Review Committee)

2021-2022         Temporary Member, NIH Cancer, Heart and Sleep Epidemiology Study Section

2022-Present      NIH Cardiovascular and Respiratory Diseases Study Section (Member)

2021-Present      2024 Heart Rhythm Society Expert Consensus Statement on Arrhythmias in the
                  Athlete (Writing committee member)

Editorial Positions:
                   2006-Present   Reviewer for American Journal of Cardiology
                   2007-Present   Reviewer for Hypertension
                   2009-Present   Reviewer for Circulation
                   2009-Present   Reviewer for Heart Rhythm
                   2009-Present   Reviewer for Journal of the American Society of Nephrology
                   2009-Present   Reviewer for Journal of Interventional Cardiac Electrophysiology
                   2009-Present   Reviewer for Journal of Cardiovascular Electrophysiology
                   2009-Present   Reviewer for American Heart Journal
                   2010-Present   Reviewer for Circulation: Cardiovascular Quality and Outcomes
                   2011-Present   Reviewer for Archives of Internal Medicine
                   2011-Present   Reviewer for Journal of the American College of Cardiology
                   2011-Present   Reviewer for Journal of the Renin Angiotensin Aldosterone System
                   2012-Present   Reviewer for Circulation Journal
                   2012-Present   Reviewer for Clinical Journal of the American Society of
                                  Nephrology
                  2012-Present    Reviewer for Journal of Translational Medicine
                  2013-Present    Reviewer for European Heart Journal
                  2014-Present    Reviewer for JAMA Internal Medicine
                  2014-Present    Reviewer for American Journal of Kidney Diseases
                  2014-Present    Reviewer for Heart
                  2015-Present    Reviewer for Annals of Internal Medicine
 Case 3:24-cr-00250-S       Document 33-1       Filed 01/27/25     Page 17 of 57     PageID 228

   Rajat Deo, MD, MTR                                                                     Page 4

                 2016-Present     Reviewer for JAMA Cardiology
                 2016-Present     Reviewer for Journal of the American Medical Association
                 2018-Present     Reviewer for Annals of Internal Medicine
                 2020-Present     Editorial Board for Circulation
                 2020-Present     Editorial Board for Heart Rhythm O2
                 2024-Present     Reviewer for New England Journal of Medicine

Academic and Institutional Committees:
                2008-2010       Member, Institutional Review Board, University of Pennsylvania

Major Academic and Clinical Teaching Responsibilities:
                1994            Chairman, Tutorial Services, Undergraduate Biology Program,
                                Massachusetts Institute of Technology
                2000-2001       Biochemistry Section Leader, first year medical students, University
                                of Michigan Medical School
                2003-2004       Resident Instructor, Introduction to Clinical Medicine, second year
                                medical students, University of Texas Southwestern Medical School
                2003-2004       Instructor, USMLE I preparatory course, University of Texas
                                Southwestern Medical School
                2004-2006       Instructor (Cardiovascular), third and fourth year medical students,
                                University of California, San Francisco School of Medicine
                2005            Clinical Instructor (small group), first year medical students,
                                University of California, San Francisco School of Medicine
                2005            Small group clinical instructor to first year medical students,
                                University of California, San Francisco School of Medicine
                2007-2008       Established and participate in weekly Electrophysiology Teaching
                                Conference, Johns Hopkins Hospital
                2008-present    Faculty for Electrophysiology Case Review Sessions
                2008-present    Faculty for Electrocardiogram Interpretation Sessions
                2008-present    Faculty Discussant for General Cardiology Journal Club Meetings
                2011-present    Lecture to Penn School of Medicine Fourth Year Medical Students
                                "Sudden Cardiac Death in Heart Failure" for the Frontiers:
                                Pathophysiological Basis of Heart Failure Therapy Course
                2012-2020       Lecture to Penn School of Engineering Students
                                BE301 Signals & Systems; Topic "Electrocardiography"
                2019            "Role of Genetic Testing in Arrhythmic Disorders" Faculty for the
                                State-of-the-Art Arrhythmia Symposium, University of
                                Pennsylvania, Philadelphia, PA
                2019            "Racial Differences in Sudden Cardiac Death" Faculty for
                                International Ventricular Tachycardia Symposium, Philadelphia, PA
                2021            "Sudden Cardiac Death in HFpEF - Beyond EF" - Faculty for the
                                UPENN HFpEF Symposium, Philadelphia, PA
                2021            "ECG Identification of Genetically Linked Arrhythmia Syndromes
                                and VT/VF Risk." Josephson Keynote ECG Lecture, Faculty for the
                                State-of-the Art Arrhythmia Symposium, University of
                                Pennsylvania, Philadelphia, PA
 Case 3:24-cr-00250-S         Document 33-1     Filed 01/27/25     Page 18 of 57      PageID 229

   Rajat Deo, MD, MTR                                                                     Page 5


Lectures by Invitation:
                  Jun, 2002       "Megestrol Acetate-Induced Adrenal Insufficiency", American
                                  College of Physicians/American Society of Internal Medicine,
                                  Regional Competition Clinical Vignette Competition, Dallas, TX
                 Oct, 2002        "Pre-Treatment with Calcium Channel Blockers Improves
                                  Microcirculatory Function after Fibrinolytic Therapy", Pathways to
                                  Heart Failure poster presentation, University of Texas Southwestern
                                  Cardiovascular Symposium
                 Oct, 2003        "Correlating Plasma Levels of Monocyte Chemoattractant Protein-1
                                  with Traditional Cardiovascular Risk Factors and Subclinical
                                  Atherosclerosis", Pathways to Heart Failure poster presentation,
                                  University of Texas Southwestern Cardiovascular Symposium
                 Sep, 2004        "Association between Plasma Levels of Monocyte Chemoattractant
                                  Protein-1 with Traditional Cardiovascular Risk Factors and
                                  Subclinical Atherosclerosis", American Heart Association (AHA)
                                  Western States Affiliate, Young Investigators Forum, Palo Alto, CA
                 Nov, 2007        "Risk Stratification for Sudden Cardiac Death," Lecture, Cardiac
                                  Electrophysiology Meeting, Cornell University Medical Center,
                                  New York, NY
                 Dec, 2007        "Kidney Dysfunction and Sudden Cardiac Death," Lecture, Cardiac
                                  Electrophysiology Morning Conference, University of Pennsylvania,
                                  Philadelphia, PA
                 Jan, 2008        "Noninvasive Predictors of Sudden Cardiac Death," Special Lecture,
                                  University of Michigan Medical School, Ann Arbor, MI
                 Jan, 2008        "Kidney Dysfunction and Sudden Cardiac Death," Cardiology Grand
                                  Rounds, University of Utah, Salt Lake City, UT
                 May, 2008        "The Role of ICD's in Patients with End Stage Renal Disease,"
                                  Faculty for the Hearth Rhythm Society's Annual Scientific Sessions,
                                  San Francisco, CA
                 Sep, 2009        "Risk Stratification Post MI - Moving Beyond Low Ejection
                                  Fraction," Faculty for the State of the Art Arrhythmia Symposium,
                                  University of Pennsylvania, Philadelphia, PA
                 Apr, 2010        "Managed Care's Role of Stroke Prevention and Anticoagulation in
                                  Managing Atrial Fibrillation Patients," Invited speaker at Spring
                                  Managed Care Forum, Richmond, VA
                 Sep, 2010        "Risk Stratification for SCD in hypertrophic cardiomyopathy,"
                                  Invited speaker at State of the Art Arrhythmia Symposium,
                                  University of Pennsylvania, Philadelphia, PA
                 Apr, 2011        Chair of "Sudden Cardiac Death Risk Stratification" Session,
                                  Faculty for American College of Cardiology's Scientific Sessions,
                                  Atlanta, GA
                 May, 2011        "Risk Factor and Prediction Modeling for Sudden Cardiac Death,"
                                  Invited Speaker at Cardiology Grand Rounds, University of
                                  Pennsylvania, Philadelphia, PA
                 May, 2011        Chair of "Novel Risk Factors for Sudden Cardiac Death", Faculty
Case 3:24-cr-00250-S     Document 33-1     Filed 01/27/25      Page 19 of 57      PageID 230

 Rajat Deo, MD, MTR                                                                   Page 6

                             for Heart Rhythm Society's Annual Scientific Sessions, San
                             Francisco, CA
             May, 2011       Chair of "Identifying Arrhythmic Risk and Indications for ICD
                             Therapy", Faculty for Heart Rhythm Society's Annual Scientific
                             Sessions, San Francisco, CA
             Sep, 2011       "Genetics for the Electrophysiologist," Invited Speaker at the State
                             of the Art Arrhythmia Symposium, University of Pennsylvania,
                             Philadelphia, PA
             May, 2012       "ECG Localization of the Site of orgin of Idiopathic PVC's and VT:
                             What Have We Learned?," Invited Speaker at the Heart Rhythm
                             Society's Annual Scientific Sessions, Boston, MA
             May, 2012       "Cardiac Arrhythmias in the Psychiatric Patient: What to Know and
                             How to Treat?," Invited speaker at the American Psychiatric
                             Association's Annual Meeting, Philadelphia, PA
             Nov, 2012       "Risk Stratification: Development of a Risk Score for Sudden
                             Cardiac Death", Invited Speaker at the American Heart Association's
                             Annual Scientific Sessions, Los Angeles, CA
             May, 2013       "Sudden Cardiac Death, Arrhythmias and Potential Interventions in
                             Chronic Kidney Disease", Invited Keynote Lecture at the Danish
                             Nephrology Society, Horsens, Denmark
             May, 2013       Chair of "Predicting Arrhythmic Events: Novel Mechanisms and
                             Methods", Faculty for Heart Rhythm Society's Annual Scientific
                             Sessions, Denver, CO
             Sep, 2013       "Sudden Cardiac Death, Arrhythmias, and Potential Interventions in
                             Chronic Kidney Disease", Invited Speaker at Cardiology Grand
                             Rounds, Washington Hospital Center, Washington, DC
             Nov, 2013       Chair and Faculty Discussant, "Epidemiology of Atrial Fibrillation
                             and Sudden Death", Faculty for American Heart Association's
                             Annual Scientific Sessions, Dallas, TX
             Nov, 2013       Poster Moderator, "Epidemiology of Atrial Fibrillation and Sudden
                             Cardiac Death", Faculty for American Heart Association's Annual
                             Scientific Sessions, Dallas, TX
             May, 2014       "Genetic Testing: Who needs it and what do I do with the results?"
                             Invited Speaker at the Heart Rhythm Society's Annual Scientific
                             Sessions, San Francisco, CA
             May, 2014       Chair of "Identifying and Treating Arrhythmias in Kidney Disease,"
                             Faculty for Heart Rhythm Society's Scientific Sessions, San
                             Francisco, CA
             Nov, 2014       Chair of "Novel Risk Ractors for Atrial Fibrillation," Faculty for
                             American Heart Association's Scientific Sessions, Chicago, IL
             Nov, 2014       Chair of "Nonsustained Ventricular Tachycardia: New Insights for
                             Risk Stratification and Management", Faculty for American Heart
                             Association's Annual Scientific Sessions, Chicago, IL
             Nov, 2014       "Prevention and Management of Nonvalvular Atrial Fibrillation",
                             Invited Speaker at American Heart Association's Annual Scientific
                             Sessions, Chicago, IL
Case 3:24-cr-00250-S     Document 33-1     Filed 01/27/25      Page 20 of 57      PageID 231

 Rajat Deo, MD, MTR                                                                    Page 7

             May, 2015       "Clinical Triad: Anticoagulants Update - What the Internist Needs to
                             Know,"American College of Physician's Internal Medicine Meeting,
                             Boston, MA
             Sep, 2015       "Influence of Renal Dysfunction on Arrhythmia Management,"
                             Faculty for the State-of-the-Art Arrhythmia Symposium,
                             University of Pennsylvania
             Oct, 2015       "Electrophysiology for the General Cardiology Fellow: Things you
                             need to know for the National Boards and Clinical Practice,"
                             Faculty for the PENNSYLVANIA ACC Fellow-In-Training
                             Educational Conference, Philadelphia, PA
             Nov, 2015       Chair of "New epidemiology in old Atrial Fibrillation," American
                             Heart Association's Annual Scientific Sessions, Orlando, FL
             Feb, 2016       "Anticoagulation for Atrial Fibrillation: Real World Evidence for the
                             Novel Oral Anticoagulants," Faculty for CADECI (Annual Congress
                             of Interventional Cardiology), Guadalajara, Mexico
             May, 2016       "Sudden Cardiac Death Prevention Working Group," NHLBI,
                             Bethesda, MD
             Oct, 2016       "Kidney Disease: Improving Global Outcomes (KDIGO) Chronic
                             Kidney Disease and Arrhythmia Conference, Berlin, Germany
             Mar, 2017       "Atrial Fibrillation: A Self-Assessment Session," American College
                             of Cardiology's Annual Scientific Sessions, Washington DC
             May, 2017       "Current Clinical Practice in the Context of Real World Data: State
                             of the Art Strategies to Predict and Prevent Sudden Cardiac Death;"
                             Heart Rhythm Society's Annual Scientific Sessions, Chicago, IL
             Feb, 2018       Cardiology Grand Rounds "Arrhythmia Risk: A Population-Based
                             Perspective," Montefiore Medical Center / Albert Einstein College
                             of Medicine, New York, NY
             Nov, 2017       Moderator for "The Role of Genetics in Cardiac Arrest and
                             Trauma," American Heart Association’s Annual Scientific Sessions,
                             Anaheim, CA
             Mar, 2018       "Atrial Fibrillation Self-Assessment Session," Faculty for American
                             College of Cardiology's Annual Scientific Sessions, Orlando, FL
             May, 2018       "Risk Stratification for Sudden Cardiac Death - is there anything
                             beyond EF?" Heart Rhythm Society's Annual Scientific Sessions,
                             Boston, MA
             May, 2018       "Risk Stratification for Sudden Cardiac Death - Is there anything
                             beyond EF?" Faculty for Heart Rhythm Society's Annual Scientific
                             Sessions, Boston, MA
             Sep, 2018       "What's New in Atrial Fibrillation Epidemiology?" Faculty for the
                             State-of-the-Art Arrhythmia Symposium, University of
                             Pennsylvania, Philadelphia, PA
             Apr, 2019       Cardiology Grand Rounds, "Arrhythmia Risk: Perspectives from the
                             Intersection of Electrophysiology and Population Science," Temple
                             Heart & Vascular Institute, Philadelphia, PA.
             May, 2019       Lecture, "Racial Differences in Sudden Cardiac Death Risk" in the
                             Session: Sudden Cardiac Death Risk Assessment in the Population.
 Case 3:24-cr-00250-S        Document 33-1     Filed 01/27/25      Page 21 of 57     PageID 232

   Rajat Deo, MD, MTR                                                                    Page 8

                                 Faculty for Heart Rhythm Society's Annual Scientific Sessions, San
                                 Francisco, CA
                 May, 2019       Lecture, "Explaining Differences in SCD in Blacks and Whites" in
                                 the Session: Diversifying Arrhythmias. Faculty for Heart Rhythm
                                 Society's Annual Scientific Sessions. San Francisco, CA
                 May, 2019       Lecture, "Explaining Differences in SCD in Blacks and Whites,"
                                 Faculty for Heart Rhythm Society's Annual Scientific Sessions, San
                                 Francisco, CA
                 May, 2019       Lecture, "Racial Differences in Sudden Cardiac Death Risk,"
                                 Faculty for Heart Rhythm Society's Annual Scientific Sessions, San
                                 Francisco, CA
                 Nov, 2019       "Featured Science in Electrophysiology", Moderator and Discussant.
                                 American Heart Association's Annual Scientific Sessions,
                                 Philadelphia, PA
                 Aug, 2020       "New Risk Factors for SCD and How to Monitor these Patients?"
                                 Keynote Lecture for Indian Heart Rhythm Society, Virtual meeting
                 Jul, 2021       Lecture, "COVID-19 and Cardiac Arrhythmias: New Approaches to
                                 Managing Cardiac Arrhythmias." Faculty for Heart Rhythm
                                 Society's Annual Scientific Sessions, Boston, MA
                 Jul, 2021       Lecture, "NICM and ICDs: What we learned from the DANISH
                                 trial?" Faculty for Heart Rhythm Society's Annual Scientific
                                 Sessions, Boston, MA
                 Oct, 2022       Lecture, "COVID-19 and cardiac arrhythmias" Faculty for
                                 International Ventricular Tachycardia Symposium, New York
                 Mar, 2023       "Return-to-play for Elite Level Athletes with Sudden Cardiac Death
                                 Predisposing Genetic Heart Disease." Discussant at Late Breaking
                                 Clinical Trials, Faculty for American College of Cardiology's
                                 Annual Scientific Sessions, New Orleans, LA
                 May, 2023       Lecture, "Why are race and ethnicity important to consider for
                                 understanding SCD risk prediction?" Faculty for Heart Rhythm
                                 Society's Annual Scientific Sessions, New Orleans, LA
                 Apr, 2024       Moderator, "EP Questions in Population Science," Faculty for
                                 American College of Cardiology's Annual Scientific Sessions,
                                 Atlanta, GA

Organizing Roles in Scientific Meetings:
                 May, 2016        Steering Committee Member for NHLBI, Sudden Cardiac Death
                                  Prevention Working Group Meeting; Bethesda, MD
                 Oct, 2016        Steering Committee Member for Kidney Disease: Improving Global
                                  Outcomes (KDIGO) Chronic Kidney Disease and Arrhythmia
                                  Conference; Berlin, Germany
                 Oct, 2019        Steering Committee Member for Kidney Disease: Improving Global
                                  Outcomes (KDIGO) Chronic Kidney Disease and Cardiovascular
                                  Disease; Mexico City, Mexico
                 Nov, 2019        Steering Committee Member; Consensus Conference on Improving
                                  Cardiovascular Disease Care in Solid Organ Transplant Recipients;
 Case 3:24-cr-00250-S       Document 33-1        Filed 01/27/25      Page 22 of 57       PageID 233

   Rajat Deo, MD, MTR                                                                        Page 9

                                  Washington DC

Bibliography:
          Research Publications, peer reviewed (print or other media):
              1. Romero EE, Deo R, Velazquez-Estades LJ, Roth DA: Cloning, structural organization,
                    and transcriptional activity of the rat vitamin K-dependent gamma-glutamyl
                    carboxylase gene. Biochem Biophys Res Commun 248(3): 783-788, July 1998.

             2. Romero EE, Velásquez-Estades lF, Deo R, Schapiro B, and Roth DA: Cloning of rat
                   vitamin K-dependent gamma-glutamyl carboxylase and developmentally
                   regulated gene expresión in implanted embryos. Exp Cell Res 243(2): 334-46,
                   Sep 1998.

             3. Deo R, Khera A, McGuire DK, Murphy SA, Meo Neto J, Morrow DA, de Lemos JA:
                    Association among plasma levels of monocyte chemoattractant protein-1,
                    traditional cardiovascular risk factors, and subclinical atherosclerosis. J Am Coll
                    Cardiol 44(9): 1812-1818, Nov 2004.

             4. Deo R, Wassel Fyr CL, Angleman S, Green C, Harris TB, Fried LF, Newman AB,
                    Kritchevsky SB, Chertow GM, Cummings SR, Shlipak MG: Kidney dysfunction
                    and fatal cardiovascular disease - an association independent of atherosclerotic
                    events: Results from the Health, Aging, and Body Composition (Health ABC)
                    study. Am Heart J 155(1): 62-68, Jan 2008.

             5. Deo R, Lin F, Vittinghoff E, Tseng ZH, Hulley S, Shlipak MG: Kidney Dysfunction
                    and Sudden Cardiac Death among Women with Coronary Heart Disease.
                    Hypertension 51(6): 1578-1582, Jun 2008.

             6. Deo R, Shlipak MG, Ix JH, Ali S, Schiller NB, Whooley MA: Association of Cystatin
                    C with Ischemia in Patients with Coronary Heart Disease. Clin Cardiol 32(11):
                    E18-22, Nov 2009. PMCID: PMC2818322

             7. Deo R, Katz R, Kestenbaum B, Fried L, Sarnak MJ, Psaty BM, Siscovick DS, Shilpak
                    MG: Impaired kidney function and atrial fibrillation in elderly subjects. J Card
                    Fail 16(1): 55-60, Jan 2010. PMCID: PMC2818049

             8. Deo R, Sotoodehnia N, Katz R, Sarnak M, Fried LF, Chonchol M, Kestenbaum B,
                    Psaty B, Siscovick D, Shilpak MG: Cystain C and Sudden Cardiac Death Risk in
                    the Elderly. Circ Cardiovasc Qual Outcomes 3(2): 159-164, Mar 2010. PMCID:
                    PMC2871673

             9. Hennessy S, Leonard CE, Freeman CP, Deo R, Newcomb C, Kimmel SE, Strom BL,
                    Bilker WB: Validation of diagnostic codes for outpatient-originating sudden
                    cardiac death and ventricular arrhythmia in Medicaid and Medicare claims data.
                    Pharmacoepidemiol Drug Saf 19(6): 555-562, Jun 2010. PMCID: PMC2924585
Case 3:24-cr-00250-S     Document 33-1        Filed 01/27/25       Page 23 of 57      PageID 234

 Rajat Deo, MD, MTR                                                                       Page 10

          10. Marcus GM, Alonson A, Peralta CA, Lettre G, Vittinghoff E, Lubitz SA, Fox ER,
                 Levitzky YS, Mehra R, Kerr KF, Deo R, Sotoodehnia N, Akylbekova M, Ellinor
                 PT, Paltoo DN, Soliman EZ, Benjamin EJ, Heckbert SR: European ancestry as a
                 risk factor for atrial fibrillation in African Americans. Circulation 122(20): 2009-
                 2015, Nov 2010. PMCID: PMC3058884

          11. Smith JG, Magnani JW, Palmer C, Meng YA, Soliman EZ, Musani SK, Kerr KF,
                 Schnabel RB, Lubitz SA, Sotoodehnia N, Redline S, Pfeufer A, Müller M, Evans
                 DS, Nalls MA, Liu Y, Newman AB, Zonderman AB, Evans MK, Deo R, Ellinor
                 PT, Paltoo DN, Newton-Cheh C, Benjamin EJ, Mehra R, Alonso A, Heckbert SR,
                 Fox ER.: Genome-wide association studies of the PR interval in African
                 Americans. PLoS Genet 7(2): e1001304. doi: 10.1371/journal.pgen.1001304, Feb
                 2011. PMCID: PMC3037415

          12. Anter E, Hutchinson MD, Deo R, Haqqani HM, Callans DJ, Gerstenfeld EP, Garcia
                 F, Bala R, Lin D, Riley MP, Litt H, Woo JY, Acker MA, Szeto WY, Zado ES,
                 Marchlinski FE, Dixit S: Surgical Ablation of Refractory Ventricular Tachycardia
                 in Patients with Nonischemic Cardiomyopathy. Circ Arrhythm Electrophysiol
                 4(4): 494-500, Aug 2011.

          13. Bala R, Ren JF, Hutchinson MD, Desjardins B, Tschabrunn C, Gerstenfeld EP, Deo
                 R, Dixit S, Garcia FC, Cooper J, Lin D, Riley MP, Tzou WS, Verdino R, Epstein
                 AE, Callans DJ, Marchlinski FE: Assessing Epicardial Substrate Using
                 Intracardiac Echocardiography During VT Ablation. Circ Arrhythm
                 Electrophysiol 4(5): 667-673, Oct 2011. PMCID: PMC3220997

          14. Deo R, Vittininghoff E, Lin F, Tseng ZH, Hulley SB, Shlipak MG: Risk Factor and
                 Prediction Modeling for Sudden Cardiac Death in Women with Coronary Artery
                 Disease Arch Intern Med 171(19): 1703-1709, Oct 2011. PMCID: PMC3547327

          15. Schnabel RB, Kerr KF, Lubitz SA, Alkylbekova EL, Marcus GM, Sinner MF,
                 Magnani JW, Wolf PA, Deo R, Lloyd-Jones DM, Lunetta KL, Mehra R, Levy D,
                 Fox ER, Arking DE, Mosley TH, Müller-Nurasyid M, Young TR, Wichmann HE,
                 Seshadri S, Farlow DN, Rotter JI, Soliman EZ, Glazer NL, Wilson JG, Breteler
                 MM, Sotoodehnia N, Newton-Cheh C, Kääb S, Ellinor PT, Alonso A, Benjamin
                 EJ, Heckbert SR.: Large-Scale Candidate Gene Analysis in Whites and African-
                 Americans idenitifies IL6R Polymorphism in Relation to Atrial Fibrillation: The
                 NHLBI CARe Project. Circ Cardiovasc Genet 4(5): 557-564, Oct 2011.

          16. Deo R, Shlipak MG, Katz R, Sotoodehnia N, Psaty BM, Sarnak MJ, Fried LF,
                 Chonchol M, deBoer I, Enquobahrie D, Siscovick D, Kestenbaum B: Vitamin D,
                 Parathyroid Hormone, and Sudden Cardiac Death: the Cardiovascular Health
                 Study. Hypertension 58(6): 1021-1028, Dec 2011. PMCID: PMC3337033

          17. Tzou WS, Zado ES, Lin D, Callans DJ, Dixit S, Cooper JM, Bala R, Garcia F,
                 Hutchinson MD, Riley MP, Deo R, Gerstenfeld EP, Marchlinski FE: Sinus
Case 3:24-cr-00250-S      Document 33-1        Filed 01/27/25       Page 24 of 57       PageID 235

 Rajat Deo, MD, MTR                                                                         Page 11

                 Rhythm ECG Criteria Associated with Basal-Lateral Ventricular Tachycardia
                 Substrate in Pateints with Nonischemic Cardiomyopathy. J Cardiovasc
                 Electrophysiol 22(12): 1351-1358, Dec 2011.

          18. Deo R, Albert CM: Epidemiology and genetics of sudden cardiac death. Circulation
                 125(4): 620-637, Jan 2012. PMCID: PMC3399522

          19. Frankel DS, Mountantonakis SE, Zado ES, Anter E, Bala R, Cooper JM, Deo R,
                 Dixit S, Epstein AE, Garcia FC, Gerstenfeld EP, Hutchinson MD, Lin D, Patel
                 VV, Riley MP, Robinson MR, Tzou WS, Verdino RJ, Callans DJ, Marchlinski
                 FE: Noninvasive programmed ventricular stimulation early after ventricular
                 tachycardia ablation to predict risk of late recurrence. J Am Coll Cardiol 59(17):
                 1529-1535, Apr 2012.

          20. Tomson TT, Kapa SJ, Bala R, Riley MP, Lin D, Epstein AE, Deo R, Dixit S: Risk of
                 stroke and atrial fibrillation after radiofrequency catheter ablation of typical atrial
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 Case 3:24-cr-00250-S    Document 33-1       Filed 01/27/25     Page 48 of 57     PageID 259

  Rajat Deo, MD, MTR                                                                  Page 35

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                 Empagliflozin on Fluid Overload, Weight, and Blood Pressure in CKD. J Am Soc
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PLEASE SEE NEXT PAGE FOR ALL GRANT SUPPORT
  Case 3:24-cr-00250-S        Document 33-1         Filed 01/27/25      Page 49 of 57       PageID 260

   Rajat Deo, MD, MTR                                                                          Page 36

GRANT SUPPORT

CURRENT GRANT SUPPORT:

D24 AC00253-00 (PI – Alur; Clinical PI – Deo)                         08/30/24 – 08/29/28
ARPA-H: Safe and Explainable AI enabled Decision Making for Personalized Clinical Decision
Support
Our overall goal is to develop algorithms for training of neurosymbolic models. We are evaluating
inpatient cardiac telemetry data (raw, digital tracings) to predict ventricular arrhythmias and in-
hospital cardiac arrest.

R01 HL159081 (Multiple PI – Rajat Deo / Ruth Dubin / Peter Ganz)        07/02/21 – 07/01/25
NIH/NHLBI: Proteomics of Cardiovascular Risk: The Multiethnic Study of Atherosclerosis
Our overall goal is to evaluate novel protein biomarkers for subclinical cardiovascular disease. We
will develop prediction models and utilize pathway analyses to understand subclinical cardiovascular
disease and its progression across the longitudinal imaging obtained in MESA.

R01 HL161303 (Multiple PI - Rajat Deo/ Wei Yang/ Wen Guo)               04/01/22 -- 03/31/26
NIH/NHLBI: Dynamic Longitudinal Functional Models with Applications to the CRIC Study
The goals of this project are to develop novel dynamic longitudinal functional models and to apply them
to electrocardiographic data that are measured repeatedly over time in the Chronic Renal Insufficiency
Cohort. We are validating our discovery using an external cohort of CKD patients collected from Penn
Medicine.

R01 MH130435 (Role: co-Investigator)                                           09/01/22 – 08/31/25
NIH/NIMH: Drug Interactions Involving Second-generation Antipsychotic Agents Leading to Sudden
Cardiac Arrest
The goals of this project are to 1) Perform high-throughput pharmacoepidemiology screening to identify
drugs that may increase the rate of out-of-hospital SCA/VA in persons taking commonly used second
generation antipsychotic agents and 2) In two independent validation populations, conduct hypothesis-
driven etiologic pharmacoepidemiology studies to either confirm or refute high-priority potential drug
interactions identified in Aim 1, and to elucidate factors that place patients at increased risk of out-of-
hospital SCA/VA associated with specific drug pairs.

R01 HL169458 (Role: co-Investigator)                                     07/01/23 – 06/30/28
NIH/NHLBI: Methods for Enhancing Polygenic Risk Prediction Models for Complex Disease
This project is designed to develop novel methods for polygenic scores with applications in
cardiovascular disease.

PAST GRANT SUPPORT:
U01 DK108809 (Multiple PI – Rajat Deo / Ruth Dubin / Peter Ganz)        08/01/16 - 07/31/24
NIH/NIDDK: Identifying Modifiable Biomarkers / Mediators for Cardiovascular Disease in CKD
In this project, we leveraged large-scale proteomics (SOMAscan, SomaLogic, Boulder, CO) to identify
novel protein biomarkers of cardiovascular disease in participants from the Chronic Renal Insufficiency
Cohort Study.
  Case 3:24-cr-00250-S         Document 33-1        Filed 01/27/25       Page 50 of 57       PageID 261

   Rajat Deo, MD, MTR                                                                            Page 37

Ambulatory Monitoring Study post COVID-19 (PI – Rajat Deo)           12/01/20 – 12/31/22
Cardiac Arrhythmia Extended monitoring among high-risk COVID-19 survivors (CARE-COVID)
Sponsor: iRhythm Technologies, Inc.
The objectives of the study were to determine prevalence and burden of cardiac arrhythmias among
COVID-19 survivors, who were hospitalized in the ICU or had evidence of cardiac injury.

U01 AI034989 (Role: co-Investigator)                                    01/01/19 – 12/31/19
NIH/NIAID: Electrocardiographic feature extraction in the Women’s HIV Study
The overall objective of this project was to develop novel statistical methods for analyzing
electrocardiogram (ECG) data that are measured at baseline in the Women’s Interagency HIV
Study (WIHS) cohort. Functional ECG features that are associated with cardiac structure and
function, neurocognition, and HIV infection status were characterized.

K23 DK089118 (PI – Rajat Deo)                                       07/01/10 – 08/30/15
NIH/NIDDK: Renin-Angiotensin-Aldosterone System and Cardiac Arrhythmias in People with Chronic
Kidney Disease
This is an ancillary study to the Chronic Renal Insufficiency Cohort (CRIC) that evaluated the role of
the renin-angiotensin-aldosterone system in atrial fibrillation and fatal cardiovascular disease among
people with chronic kidney disease. The study evaluated baseline aldosterone with markers of
conduction disease with various arrhythmic endpoints. As part of the study, the PI led the adjudication
of atrial fibrillation and sudden cardiac death in the CRIC study.

McCabe Fund Pilot Award, Univ. of Pennsylvania (PI - Rajat Deo)      07/01/09 to 06/30/11
Genetic Polymorphisms in the Renin-Angiotension-Aldosterone System and Cardiac Arrhythmias
Goals: To better understand the role of the renin-angiotension-aldosterone system (RAAS) in cardiac
arrhythmias including sudden cardiac death and atrial fibrillation among a cohort of participants with
chronic kidney disease (CKD).

Junior Investigator Pilot Grant, Univ. of Pennsylvania (PI – Rajat Deo) 07/01/09 to 06/30/11
Renin-Angiotension-Aldosterone System and Cardiac Arrhythmias
Goals: To evaluate whether renin and aldosterone levels are associated with atrial fibrillation and
sudden cardiac death among patients in the Penn Medicine Biobank.

Kynett-FOCUS Junior Faculty Investigator Award (PI - Rajat Deo)      10/01/09 to 09/30/10
University of Pennsylvania
A Comparison of Risk Factors for Cardiovascular Death and Sudden Cardiac Death Using a Competing
Risk Analysis in Women
Goals: To compare risk factors for sudden cardiac death to those of non-sudden cardiovascular death
among women enrolled in the Hormone and Estrogen Replacement Study.

KL2-RR024132 (Role - Scholar)                                                07/01/08 to 06/30/10
NIH/NCRR: Institutional Clinical and Translational Science Award (CTSA)
The ojectives of this institutional training award are to develop interdisciplinary structures designed to
foster and facilitate research and education.
Case 3:24-cr-00250-S         Document 33-1      Filed 01/27/25       Page 51 of 57      PageID 262



 Shauna Hull, BSN, RN, CPC
 Qlarant Job Title: Project Manager I

 EDUCATION
   • Bachelor of Science-Nursing, University of Central Oklahoma, Edmond, OK, 2005

 Summary:
 Completes desk review or field audits to meet applicable contract requirements and to identify
 evidence of potential overpayment or fraud. Completes inquiry letters, investigation finding
 letters and case summaries. Investigates and refers all potential fraud leads to the
 investigators/auditors. Collaborates with law enforcement and conduct medical reviews along
 with testifying in trials as needed. Participates in internal and external focus groups and other
 projects, as required. Identifies opportunities to improve processes and procedures. Mentor and
 provide guidance to junior and level one analysts. Performs a variety of tasks some requiring
 independent thought and research. Seasoned registered nurse with 19+ years’ healthcare
 experience.

 Experience
 May 2017 – Present                            Qlarant (formerly Health Integrity), Dallas, TX
 Project Manager I
 Claims Analyst Lead
 Claims Analyst II
    • See summary

 July 2015 – May 2017                          Professional Healthcare Solutions, Yukon, OK
 Medical Review

     •   Medical record and claims review for Medicare and Medicaid fraud, waste and abuse.
     •   Investigated and referred all potential fraud leads to the investigators/auditors.
     •   Mentor and provide guidance to junior and new medical reviewers.

 February 2014 – June 2015                    Option One, Oklahoma City, OK
 Lead Infusion Nurse

     •   Managed infusion suites in office, performed infusions within patient's homes and
         coordinated home nursing visits to include ensuring all state laws and regulations were
         followed.

 January 2008 – May 2014                   Oklahoma Heart Hospital, Oklahoma City, OK
 Registered Nurse, Post Coronary Care Unit

     •   Direct bedside care for telemetry patients to include pre and post-catherization and pre
         and post-surgical patients for 60 bed unit. Coordinated care with physician and medical
         team to ensure that patients had positive outcomes.

 September 2007 – January 2008                Loving Care Home Health; Yukon, OK

 Qlarant Quality Solutions   Resume— Name, Designations                                              1
Case 3:24-cr-00250-S         Document 33-1      Filed 01/27/25       Page 52 of 57      PageID 263



 Registered Nurse, Home Health/Hospice

     •   Managed caseload of 15-20 patients to provide education, treatment, education,
         continuing support of intravenous therapy, venipuncture, transport of labwork and wound
         care of all types. Developed patient care plans. Hospice care provided on occasion.
         Coordinated with other agencies for services outside of the scope of practice of the
         company.

 April 2006 – August 2007                  Oklahoma Heart Hospital, Oklahoma City, OK
 Registered Nurse, Post Coronary Care Unit

     •   Refer to job description above.

 June 2005 – March 2006                       VA Medical Center; Oklahoma City, OK
 Registered Nurse, Surgical/Telemetry unit

     •   Direct bedside care for med-surgical/telemetry patients for 30 bed unit. Charge nurse on
         occasion for unit. Coordinated with physician and medical team to ensure that patients
         had positive outcomes.

 October 1998 – June 2005                     University of Central Oklahoma, Edmond, OK
 College

     •   Attending college with graduation in May 2005 with a Bachelor of Science in Nursing.

 January 1993 – October 1998                  United States Air Force
 Security Police, Law Enforcement

     •   Performed, supervised and led security police activities including weapon system,
         resource security, antiterrorism, law enforcement/investigations, air base defense,
         armament and equipment, training, pass and registration, information security and
         combat arms.

 Special Skills, Professional Certifications, and Affiliations
 Certifications/Licenses:      Compact license-Registered Nurse, Oklahoma
                               Certified Professional Coder




 Qlarant Quality Solutions   Resume— Name, Designations                                             2
Case 3:24-cr-00250-S   Document 33-1   Filed 01/27/25   Page 53 of 57   PageID 264




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Case 3:24-cr-00250-S   Document 33-1   Filed 01/27/25   Page 54 of 57   PageID 265
Case 3:24-cr-00250-S   Document 33-1   Filed 01/27/25   Page 55 of 57   PageID 266
Case 3:24-cr-00250-S   Document 33-1   Filed 01/27/25   Page 56 of 57   PageID 267
Case 3:24-cr-00250-S   Document 33-1   Filed 01/27/25   Page 57 of 57   PageID 268
